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                         UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION

IN RE:                                                  )
                                                        ) Case No.:          19-10317
BON WORTH, INC.,                                        )
                                                        ) Chapter 11
                         Debtor.                        )

               NOTICE OF INTENT TO ACCEPT/DECLINE APPOINTMENT TO
                             CREDITORS' COMMITTEE

         The undersigned, a representative of the company or individual listed below,

         ___     Agrees to accept appointment to the Committee of Unsecured Creditors in the above-
                 referenced case, if so appointed by the Court.

         ___     Declines to accept appointment to the Committee of Unsecured Creditors in the above-
                 referenced case.

Name of Creditor: Renshun Accessories, LLC
Name of Representative: NA LI
Address of Representative: 40 West 37 Penthouse C, New York, NY 10018




Amount of Claim: $ 98,000.00
Type of Claim: unsecured claim for merchandise sold and delivered
(Please note if you contend that your claim is secured by a lien on property of the debtor or if you
maintain a priority status.)

Relationship to Debtor: Supplier of merchandise

(Please state whether the creditor is related to the debtor as an insider or other pertinent relationship.)

Representative’s Telephone No.: 212-216-9016                          Email: lina@renshunusa.com

Dated: 9/5/2019


                                                   Signature

Return to: Office of the Bankruptcy Administrator, 402 W. Trade Street, Suite 200, Charlotte, NC
          28202-1669, Fax (704) 344-6666, Email: sarah_e_scholz@ncwba.uscourts.gov.
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